Case 4:19-cv-07123-PJH   Document 509-2   Filed 01/09/25   Page 1 of 3




             EXHIBIT A
               Case 4:19-cv-07123-PJH         Document 509-2         Filed 01/09/25       Page 2 of 3




From:                           Marzorati, Luca <luca.marzorati@davispolk.com>
Sent:                           Tuesday, July 9, 2024 8:03 PM
To:                             Joe Akrotirianakis; Aaron Craig
Cc:                             fb.nso
Subject:                        WhatsApp v. NSO: Designation of Expert for HC-AEO Material
Attachments:                    Anthony Vance vita.pdf; 2020.08.31 [Dkt. 132] - WhatsApp v. NSO - Protective Order -
                                Vance signed.pdf



CAUTION: MAIL FROM OUTSIDE THE FIRM
Counsel,

Pursuant to Section 7.4(a)(3) of the Stipulated Protective Order (Dkt. No. 132), Plaintiffs hereby provide notice
of their designation of Anthony Vance as an Expert authorized to receive discovery designated in this case as
“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”

This request encompasses discovery from any Designating Party that King & Spalding represents in
connection with discovery in this matter, including without limitation the following:

   -       NSO Group Technologies Limited
   -       Q Cyber Technologies Limited
   -       Westbridge Technologies, Inc.
   -       Compass Stratagem, LLC
   -       Omri Lavie
   -       Josh Shaner
   -       Terrence DiVittorio

A copy of Dr. Vance’s CV is attached hereto, along with a signed copy of his “Acknowledgment and Agreement
to be Bound” (Exhibit A). Set forth below is the additional information required by subsections (1) through (6)
of Section 7.4(a)(3):

       1. The general categories of information that Plaintiffs seek to disclose to Dr. Vance are documents
          and communications reflecting the operation, capabilities, design, installation, maintenance, and
          use of Defendants’ spyware. Pursuant to Section 7.3(d)(1) of the Stipulated Protective Order,
          disclosure to the above-referenced Expert is reasonably necessary for this litigation because he
          possesses the technical expertise necessary to assist counsel in providing advice to Plaintiffs about
          these materials.
       2. Anthony Vance, Blacksburg, Virginia
       3. Dr. Vance’s current resume is attached
       4. Virginia Tech
       5. Virginia Tech; Temple University; University of Jyväskylä; University of Canterbury; University of
          Hong Kong; Ryanair DAC; Vox Marketing Group; Discernible, Inc.; Dow Jones & Company, Inc.
       6. Ryanair DAC v. Booking Holdings Inc., C.A. No. 20-1191-WCB (D. Del.); Vox Mktg. Grp., LLC v.
          Prodigy Promos L.C., No. 2:18-cv-00632-HCN-JCB (D. Utah)

Thanks,
Luca



Luca Marzorati

                                                         1
                     Case 4:19-cv-07123-PJH                           Document 509-2                     Filed 01/09/25                Page 3 of 3
+1 212 450 3660 office
+1 718 304 6950 mobile
luca.marzorati@davispolk.com


Davis Polk & Wardwell LLP
Confidentiality Note: This email is intended only for the person or entity to which it is addressed and may contain information that is privileged, confidential or otherwise
protected from disclosure. Unauthorized use, dissemination, distribution or copying of this email or the information herein or taking any action in reliance on the contents of
this email or the information herein, by anyone other than the intended recipient, or an employee or agent responsible for delivering the message to the intended recipient, is
strictly prohibited. If you have received this email in error, please notify the sender immediately and destroy the original message, any attachments thereto and all copies.
Please refer to the firm's privacy notice for important information on how we process personal data. Our website is at davispolk.com.




                                                                                       2
